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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           UNITED STATES OF AMERICA ::
                                    ::                 CRIMINAL ACTION FILE NO.
               v.                   ::                 1-12-CR-221-02-ODE-AJB
                                    ::
           OGUZHAN AYDIN,           ::
                                    ::
                    Defendant.      ::

                       UNITED STATES MAGISTRATE JUDGE’S ORDER
                       AND FINAL REPORT AND RECOMMENDATION

                 Before the Court are the motions to dismiss the indictment, [Docs. 34, 40], and

           to strike surplusage, [Doc. 41], filed by Defendant Oguzhan Aydin (“Aydin” or

           Defendant). For the following reasons, the undersigned RECOMMENDS that the

           motions to dismiss, [Docs. 34, 40], be GRANTED IN PART AND DENIED IN

           PART. Further, the motion to strike surplusage, [Doc. 41], is DENIED.1




                 1
                       Defendant’s motion to strike surplusage is a non-dispositive motion and
           thus may be ruled upon by the undersigned by an Order rather than through a Report
           and Recommendation. See United States v. Parker, 165 F. Supp. 2d 431, 439 n.1
           (W.D.N.Y. 2001).


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           I.       Introduction

                    On July 10, 2012, a grand jury in this District returned a 7-count indictment

           against Aydin and others. [Doc. 39].2 Count One charges that, from September 1, 2009

           to August 1, 2010, Aydin and co-defendants Saeid Kamyari (“Kamyari”),

           AGM Ltd. Co. (“AGM”), and Blue Sky Aviation (“Blue Sky”) conspired in violation

           of 18 U.S.C. § 371 to knowingly and willfully export and to cause to be exported from

           the United States to the Islamic Republic of Iran (“Iran”) certain United States defense

           articles, in violation of certain Executive Orders issued pursuant to the International

           Emergency Economic Powers Act (“IEEPA”), 50 U.S.C. §§ 1701-06; and to knowingly

           and willfully export and to cause to be exported from the United States to Iran

           microcircuits and other aircraft parts, without first having obtained from the U.S.

           Department of the Treasury’s Office of Foreign Assets Control (“OFAC”) a license for




                    2
                         The indictment as returned, [Doc. 1-1], was sealed in whole or in part until
           September 24, 2014. [See Doc. 37]. For purposes of this Order and R&R, the Court
           cites to the unsealed version of the indictment, [Doc. 39]. In addition, Aydin filed his
           initial motion to dismiss, [Doc. 34], before the indictment was totally unsealed. In this
           R&R, the Court refers only to the motion to dismiss, [Doc. 40], filed after the
           indictment was unsealed.

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           such export or written authorization for such export, in violation of the IEEPA,

           50 U.S.C. § 1705, and 31 C.F.R. §§ 560.203 and 560.204. [Doc. 39 at 1-17, ¶¶ 1-18].3

                 Count Two charges that, from November 6, 2009 until August 1, 2010, Aydin,

           Kamyari and Blue Sky did “knowingly and willfully attempt to export and attempt to

           cause the export of defense articles, namely certain parts designed for the F-14 fighter

           jet” to Iran through the Republic of Turkey (“Turkey”) without first having obtained

           the required license and authorization from the U.S. State Department, in violation of

           22 U.S.C. § 2778 and 18 U.S.C. § 2. [Doc. 39 at 17-18, ¶¶ 19-20].

                 Count Three charges that, from November 6, 2009 until August 1, 2010, Aydin,

           Kamyari and Blue Sky conspired to export and to cause to be exported from the United

           States to Iran, through Turkey, F-14 fighter jet parts without first having obtained the

           required license and authorization from the United States Department of the Treasury’s

           OFAC, in violation of 50 U.S.C. § 1705, in connection with 31 C.F.R. §§ 560.203 and

           560.204 and 18 U.S.C. § 2. [Doc. 39 at 18-19, ¶¶ 21-22].

                 Count Four charges that, from May 28, 2010 until August 1, 2010, Aydin and

           Blue Sky did knowingly and willfully “attempt to export and attempt to cause to be


                 3
                         Kamyari, AGM and Blue Sky have not appeared in this action as of the
           date of this R&R. [See Dkt.].

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           exported” from the United States to Iran, through Turkey, aircraft parts, without first

           having obtained the required license and authorization from the United States

           Department of the Treasury’s OFAC, in violation of 50 U.S.C. § 1705, in connection

           with 31 C.F.R. §§ 560.203 and 560.204 and 18 U.S.C. § 2. [Doc. 39 at 19, ¶¶ 23-24].

                  Count Five charges that on November 6, 2009, Kamyari transferred funds from

           outside the United States to Atlanta, Georgia, with the intent to promote the carrying

           on of a violation of the IEEPA, 50 U.S.C. § 1705, and the Arms Export Control Act,

           22 U.S.C. § 2778, in violation of 18 U.S.C. § 1956(a)(2)(A). [Doc. 39 at 19-20, ¶¶ 25-

           26].

                  Finally, Counts Six and Seven charge that on April 30, 2010 and June 16, 2010,

           respectively, Kamyari, Aydin, and Blue Sky transferred funds from outside the United

           States to Atlanta, Georgia, with the intent to promote the carrying on of a violation of

           the IEEPA, 50 U.S.C. § 1705, and the Arms Export Control Act, 22 U.S.C. § 2778, in

           violation of 18 U.S.C. § 1956(a)(2)(A). [Doc. 39 at 19-21, ¶¶ 25-26].4




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                        The indictment also contains a forfeiture provision. [Doc. 39 at 21-23,
           ¶¶ 31-32].

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           II.   Motion to Dismiss, [Docs. 34, 40]

                 Aydin makes various arguments as to why some of the counts in the indictment

           are improper. The Court will discuss the arguments in the order in which they are

           raised in the motion to dismiss.

                 A.     Counts Two and Four--Failure to State an Offense

                        1.     Contentions of the Parties

                 In his motion to dismiss, Aydin first argues that Counts Two and Four fail to

           state federal crimes, on the grounds that “attempting to cause an export” of defense

           articles without a license is not a federal crime, that there is no federal general attempt

           statute and that only attempts which have expressly been made crimes may be

           punished. [Doc. 40 at 1-2 (quoting United States v. Kuok, 671 F.3d 931, 941, 942

           (9th Cir. 2012); United States v. Hopkins, 703 F.2d 1102, 1104 (9th Cir. 1983); and

           United States v. Joe, 452 F.2d 653, 654 (10th Cir. 1972))]. He argues that Count Two

           is flawed because neither 22 U.S.C. § 2778 nor 18 U.S.C. § 2 criminalizes an attempt

           to cause an export of an unlicensed defense item. Id. at 2. He also alleges that neither

           50 U.S.C. § 1705, the aiding and abetting statute, 18 U.S.C. § 2, nor the regulations

           cited in Count Four, 31 C.F.R. §§ 560.203, 506.204, contain attempt to cause

           provisions. [Doc. 40 at 2].

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                 The government in response first argues that the counts are validly pleaded

           because they track the statutory language and contain the essential elements of the

           offenses charged. [Doc. 46 at 4-5]. It contends that Kuok is inapposite since the court

           there decided that the indictment was defective because the law enforcement agent with

           whom the defendant was supposedly acting did not intend to export any

           items. [Id. at 6]. It also argues that § 2 criminalizes attempts because a person can be

           charged with intentionally attempting to cause another to do that which would

           ultimately result in violation of the law. [Doc. 46 at 5-8 (citing United States v.

           Hornaday, 392 F.3d 1306 (11th Cir. 2004), and United States v. Zidell, 323 F.3d 412

           (6th Cir. 2003))]. It also argues that Counts Two and Four conjunctively charge two

           ways in which Aydin violated the law, and that even if there is one part of the allegation

           that is defective, the other allegation is sufficient to withstand a motion to

           dismiss. [Id. at 8].

                 In reply, Aydin argues that the government (1) did not directly respond to his

           arguments that the statutes at issue do not criminalize the attempt to cause an

           unlicensed export, (2) failed to properly distinguish Kuok, (3) cannot rely upon a

           tortured reading of § 2 to save the counts, and (4) cannot have the indictment saved by

           redacting the improper allegations. [Doc. 47 at 1-4].

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                        2.    Discussion

                 “An indictment is sufficient if it: (1) presents the essential elements of the

           charged offense, (2) notifies the accused of the charges to be defended against, and

           (3) enables the accused to rely upon a judgment under the indictment as a bar against

           double jeopardy for any subsequent prosecution for the same offense.” United States

           v. Baxter, 579 Fed. Appx. 703, 705 (11th Cir. August 24, 2014) (quoting United States

           v. Steele, 178 F.3d 1230, 1233-34 (11th Cir. 1999) (quotation marks omitted in

           original)); see also Hamling v. United States, 418 U.S. 87, 117 (1974) (holding that an

           indictment must “contain[ ] the elements of the offense charged.”). An “indictment is

           sufficient if it charges in the language of the statute.” United States v. Critzer,

           951 F.2d 306, 307 (11th Cir. 1992). No citation to a specific code section is required.

           United States v. Kahl, 583 F.2d 1351, 1355 (5th Cir. 1978).5 Moreover, “even the

           citation of an inapposite criminal statute in an indictment does not render a conviction

           based on a different statute invalid, so long as the elements of the relevant statutory

           offense charged are adequately described in the indictment.” United States v. Steiger,

           Civil Action No. 2:04cv455-WHA, 2006 WL 3450140, *14 (M.D. Ala. Nov. 29, 2006)

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                        In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981)
           (en banc), the Eleventh Circuit adopted as binding precedent all of the decisions of the
           former Fifth Circuit handed down prior to the close of business on September 30, 1981.

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           (quoting United States v. Greenwood, 974 F.2d 1449, 1472 (5th Cir. 1992), and United

           States v. Bonallo, 858 F.2d 1427, 1430 (9th Cir. 1988) (noting that “the description of

           the alleged conduct is far more critical than the indictment’s . . . citation of a particular

           provision of a statute.”)).

                  Further, an indictment regular on its face carries with it a strong presumption of

           validity. Ward v. United States, 694 F.2d 654,658 (11th Cir. 1982) (citation omitted).

           In determining whether an indictment sufficiently informs the defendant of the offense

           charged, courts give the indictment a common-sense construction and generally will

           uphold an indictment even if it contains a technical error or omission. Although an

           indictment that tracks the statutory language defining an offense is usually sufficient,

           mere recitation of statutory language is acceptable only if all elements of the charged

           crime are subsumed in the language. See, e.g., United States v. Fern, 155 F.3d 1318,

           1324-25 (11th Cir. 1998).

                  The Court concludes that Aydin’s arguments are meritorious as to the “attempt

           to cause” allegations.

                  In both Counts Two and Four of the indictment, there are two different crimes

           alleged: “attempt to export” under 28 U.S.C. § 2278 and 50 U.S.C. § 1705 and by

           implication and express language, certain implementing regulations; and “attempt to

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           cause the export” of defense articles under those same statutes and regulations, as

           well as 18 U.S.C. § 2.

                 Turning first to Count Two, this count alleges a violation of 22 U.S.C. § 2778

           and 18 U.S.C. § 2. After incorporating ¶¶ 1-4, 13-15, and 18 into the count, the

           indictment alleges

                 20. From on or about November 6, 2009, and continuing until on or about
                 August 1, 2010, within the Northern District of Georgia, and elsewhere,
                 the defendants, SAEID KAMYARI, OGUZHAN AYDIN and BLUE
                 SKY AVIATION, aided and abetted by each other, did knowingly and
                 willfully attempt to export and attempt to cause the export of defense
                 articles, namely,

                 •     Hybrid Microcircuits, Thin Film, Part Number 252889/ NSN
                       5952-00-235-2400;
                 •     Hybrid Microcircuits, Thin Film, Part Number 252928/ NSN
                       5952-00-231-5119; and
                 •     Hybrid Microcircuits, Thin Film, Part Number 255851/ NSN
                       5962-00-137-9943,

                 which are parts designed for the F-14 fighter jet, to the Islamic Republic
                 of Iran through the Republic of Turkey, without first having obtained the
                 required license and authorization from the United States Department of
                 State, in violation of Title 22, United States Code, Section 2778 and
                 Title 18, United States Code, Section 2.

           [Doc. 39 at 17-18].

                 Trial courts retain the power to dismiss a defective indictment in some instances.

           Under Federal Rules of Criminal Procedure 12(b), “[a] party may raise by pretrial

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           motion any defense, objection, or request that the court can determine without a trial

           of the general issue.” Fed. R. Crim. P. 12(b)(2). A trial court may dismiss an

           indictment that does not state an offense under the charged statute. United States v.

           Aleynikov, 737 F. Supp. 2d 173, 176 (S.D.N.Y. 2010). All statutory interpretation

           begins with the language of the statute itself, and where “the statute's language is plain,

           ‘the sole function of the courts is to enforce it according to its terms.’ ” United States

           v. Ron Pair Enterprises, Inc., 489 U.S. 235, 241 (1989) (quoting Caminetti v. United

           States, 242 U.S. 470, 485 (1917)).

                 Section 2778 provides in relevant part as follows:

                 Any person who willfully violates any provision of this section, . . . or any
                 rule or regulation issued under this section . . . shall upon conviction be
                 fined for each violation not more than $1,000,000 or imprisoned not more
                 than 20 years, or both.

           22 U.S.C. § 2778(c). Section 2778 on its face does not contain an attempt prohibition.

           However, at least one of § 2778’s implementing regulations prohibit the commission

           of attempts. The version of 22 C.F.R. § 127.1 in effect at the time of the events

           described in the indictment provides,6 in relevant part, that:

                 6
                       The version of 22 C.F.R. § 127.1 quoted in the text was effective until the
           Treaty Between the Government of the United States of America and the Government
           of the United Kingdom of Great Britain and Northern Ireland Concerning Defense
           Trade Cooperation (Treaty Doc. 110-7) was entered into force on April 13, 2012. (See

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                 (a) It is unlawful:

                        (1) To export or attempt to export from the United States, or
                        to reexport or retransfer or attempt to reexport or retransfer
                        from one foreign destination to another foreign destination
                        by a U.S. person of any defense article or technical data or
                        by anyone of any U.S. origin defense article or technical data
                        or to furnish any defense service for which a license or
                        written approval is required by this subchapter without first
                        obtaining the required license or written approval from the
                        Directorate of Defense Trade Controls[.]7


           “Implementation of the Defense Trade Cooperation Treaty Between the United States
           and the United Kingdom,” 77 FR 16592); see also Note preceding 22 C.F.R. § 127.1.
           Since the conduct alleged in the indictment occurred in 2009 and 2010, the prior
           version of the regulations applies.

                 The current version of § 127.1(a) provides:

                 (a) Without first obtaining the required license or other written approval
                 from the Directorate of Defense Trade Controls, it is unlawful:

                        (1) To export or attempt to export from the United States any
                        defense article or technical data or to furnish or attempt to
                        furnish any defense service for which a license or written
                        approval is required by this subchapter[.]

           22 C.F.R. § 127.1(a)(1) (2012).
                 7
                        The Directorate of Defense Trade Controls is part of the U.S. Department
           of State. DDTC website, https://www.pmddtc.state.gov/index.html (last visited
           Jan. 5, 2015); see also Doc. 39, ¶ 14 (“At all times relevant to this Indictment, the
           Department of State, Directorate of Defense Trade Controls, regulated the exportation
           of defense articles by, among other things, requiring persons to apply for and receive
           licenses or other written approvals from the Directorate of Defense Trade Controls

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           22 C.F.R. § 127.1(a)(1) (emphasis supplied).

                 Since the charging statute makes it a crime to violate one of its implementing

           regulations, Count Two of the indictment adequately charges an attempt to violate

           § 2778. Cf. United States v. Markovic, 911 F.2d 613, 614-15 (11th Cir. 1990)

           (“Section 2778(b)(2) and applicable regulations provide that defense articles

           enumerated on the United States Munitions List may not be exported nor may an

           attempt be made to export them from the United States without a license for such export

           or written approval from the Department of State, unless the regulations provide for an

           exemption.”); United States v. Herrera, 711 F.2d 1546, 1555 n.17 (11th Cir. 1983)

           (noting that § 2778 and 22 C.F.R. § 127.1 criminalize attempts to export firearms

           without a license); United States V. Aircraft (One (1) Douglas AD-4N Skyraider

           Aircraft, etc.), 839 F. Supp. 2d 1343, 1249 (N.D. Ala. 2011) (noting that federal

           regulations that accompany § 2778 state that it is unlawful to import or attempt to

           import any defense article without first obtaining the required license or written

           approval from the Directorate of Defense Trade Controls).

                 That does not end the inquiry, however, because Count Two also alleges that the

           defendants named therein also “attempt[ed] to cause the export of defense articles.”


           before exporting defense articles.”).

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           Aydin argues that nowhere in either § 2778, its regulations or § 2 is the “attempt to

           cause” criminalized. He primarily relies upon the Ninth Circuit’s decision in Kuok. In

           Kuok, the defendant was charged and convicted under § 2278 and its implementing

           regulations, specifically, 22 C.F.R. § 127.1(a)(1). Kuok, 671 F.3d at 940. The

           government charged Kuok with violating the statute and regulation by asking an

           undercover agent to send him an encryptor device (for which a license to export was

           required) in exchange for a $1700 wire transfer. Id. Following his conviction, Kuok

           argued on appeal § 2278 and its implementing regulations do not create liability for

           attempting to cause another person to violate the statute. Id. The Kuok court noted that

           the evidence at trial did not establish that Kuok exported or attempted to export the

           encryptor, but he attempted to cause an undercover agent to export it. Id. at 941. The

           government argued that 18 U.S.C. § 2(b) supported this theory. Id. In recognizing that

           there is no general federal attempt statute, the Ninth Circuit held that

                 either 18 U.S.C. § 2(b) would have to contain an attempt provision, or
                 22 C.F.R. § 127.1 would have to contain an attempted causation
                 provision. Since neither statute does so, Kuok cannot be convicted on this
                 count based on the government’s evidence at trial. The government’s
                 argument that attempt should rationally be read into § 2(b) fails in light of
                 the rule against reading an attempt into a criminal statute that does not
                 explicitly include it.

           Id.

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                 The government first argues that the Eleventh Circuit has read an attempt

           provision in Section 2. [Doc. 46 at 6 (citing United States v. Hornaday, 392 F.3d 1306,

           1313 (11th Cir. 2004))]. However, Hornaday is inapposite and may even support the

           Defendant’s argument over the government’s. In Hornaday, the defendant was charged

           by superseding indictment of violating 18 U.S.C. § 2422(b)8 and 18 U.S.C. § 2.

           Hornaday, 392 F.3d at 1308. The facts at trial established that Hornaday contacted via

           a chat room an undercover agent, who was posing as an adult male who partakes in

           sexual activity with his own minor children, to join in the sexual activity of the

           undercover agent and the minor children.         Id. at 1308-09.     Hornaday sent the

           undercover agent a picture of himself so that the agent could show the children and

           convince the children to have sex with him. Id. at 1309. After a trial, a jury returned

           a general verdict of guilty. Id. On appeal, Hornaday argued that he was convicted in

           part on an invalid legal theory: “aiding and abetting an undercover agent who could not


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                        18 U.S.C. § 2422(b) makes it a crime to

                 [use] the mail or any facility or means of interstate or foreign commerce,
                 or within the special maritime and territorial jurisdiction of the United
                 States [to] knowingly persuade[], induce[], entice[], or coerce[] any
                 individual who has not attained the age of 18 years, to engage in
                 prostitution or any sexual activity for which any person . . ., or attempt []
                 to do so.

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           himself be held responsible for the crime.” Id. at 1312. The Eleventh Circuit described

           the purpose of 18 U.S.C. § 2(b) as

                 designed for[] the situation in which a defendant with the requisite intent
                 to commit a crime gets someone else to act in a way necessary to bring
                 about the crime, even if that other person is innocent. Or to put it another
                 way, the defendant supplies the intent or maybe another element or two
                 while getting someone else to supply at least one additional element that
                 is necessary to the commission of the crime. That someone else may be
                 an undercover law enforcement officer or an entirely innocent third
                 person.

           Id. at 1313. Thus, “a defendant can be held liable under § 2(b) for the acts of an

           undercover agent which he causes where those acts would be an offense against the

           United States if the defendant had done the acts himself.” Id. at 1314. The Eleventh

           Circuit thus found that “Hornaday did not ‘aid, abet, counsel, command, induce, or

           procure,’ 18 U.S.C. § 2(a) (tense changed), [the undercover detective, acting as a father

           of purported child-victims], to commit an offense against the United States. Nor did

           the detective commit any acts that, ‘if directly performed by [Hornaday] or another

           would have been an offense against the United States,’ § 2(b), and more specifically the

           offense for which Hornaday was convicted.” Id. In making this finding, the Eleventh

           Circuit looked to other cases where the defendant had procured or aided illegal conduct

           actually done by the government agents which was not the case here. Id. at 1313-14.



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           The Eleventh Circuit thus concluded that it was error for the trial court to give

           instructions on an 18 U.S.C. § 2 liability theory, and the government should not have

           argued that theory to the jury. Id. at 1314-15.9

                 Thus, what the Hornaday case teaches is that there can only be liability under

           § 2(b) if an act has been completed which would constitute an act against the United

           States. Id. at 1314. Stated another way, there can be no liability under § 2 when there

           is no act of a crime. Notably, the facts under Hornaday clearly established an attempt

           by the defendant to “cause” the undercover agent to violate § 2422(b), which would

           satisfy the government’s argument under § 2. However, although the argument was

           never addressed, the Eleventh Circuit found that defendant could not be found guilty

           under § 2(b) under those circumstances.

                 The government also cited United States v. Zidell, 323 F.3d 412 (6th Cir. 2003),

           in support of its position. This case was directly addressed and distinguished in Kuok.

           It is also distinguishable here. In Zidell, the indictment charged the defendant with

           “attempt to cause the possession with intent to distribute . . . methamphetamine” under

           § 2(b). Zidell, 323 F.3d at 421. As Kuok noted, the charge in the indictment was not

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                        The Eleventh Circuit, however, found the error to be harmless as there was
           overwhelming and undisputed evidence of guilt under § 2422(b). Hornaday,
           392 F.3d at 1316.

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           challenged, rather the defendant challenged the venue. Id. at 420-25; Kuok, 671 F.3d at

           942. Further, Kuok correctly noted that Zidell dealt with the issue of “causing an

           attempt” rather than “attempting to cause” although the indictment indicated otherwise.

           In Zidell, the defendant was accused of convincing two others to travel from Tennessee

           to Texas, distributed methamphetamine to them and sent them back to Tennessee.

           Zidell, 323 F.3d at 417-18. Thus, the criminal act of possession with intent to distribute

           was completed when the co-conspirators received the drugs from the defendant, thereby

           causing an attempt of possession with intent to distribute, rather than attempting to

           cause possession with intent to distribute. See Kuok, 671 F.3d at 942. Moreover, the

           Zidell court explained the statute from whence the word “cause” derives in the charge

           of “attempt to cause the possession with intent to distribute” is derived from

           18 U.S.C. § (2)(b), but does not explain the basis for an attempt to cause as it did not

           cite to any statute or congressional intent that reads attempt into § 2(b). Zidell,

           323 F.3d at 424. Thus, Zidell is distinguishable.

                 Although the pending case is very similar to Kuok, the Court is somewhat

           hesitant to rely upon it because the Kuok court analyzed the issues there in light of the

           evidence introduced by the government at trial. See, e.g., Kuok, 671 F.3d at 941

           (“However, the government’s case at trial did not establish that Kuok caused an attempt

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           to export: it established that he attempted to cause an export.” (emphasis in original).

           Although other parts of the opinion appear to rely on statutory construction, id. at 942

           (“We hold that attempting to cause an export of defense articles without a licence is not

           a violation of U.S. law”), the Eleventh Circuit has been strict about trial judges’

           dismissing indictments on sufficiency of the evidence prior to trial. United States v.

           Sharpe, 438 F.3d 1257, 1263 (11th Cir. 2006) (A “court may not dismiss an

           indictment . . . on a determination of facts that should have been developed at trial.”)

           (quoting United States v. Torkington, 812 F.2d 1347, 1354 (11th Cir. 1987); United

           States v. Salman, 378 F.3d 1266 (11th Cir. 2004) (holding that the proper avenue to

           challenge the sufficiency of the government’s evidence is by way of a motion for

           judgment of acquittal after the close of the government’s case, and not by a pretrial

           motion to dismiss); United States v. Critzer, 951 F.2d 306, 307 (11th Cir. 1992) (holding

           that a district court cannot properly dismiss an indictment on the ground that there is

           insufficient evidence to support the allegations; noting that there was “no summary

           judgment procedure in criminal cases. Nor do the rules provide for a pre-trial

           determination of sufficiency of the evidence . . . The sufficiency of a criminal

           indictment is determined from its face. The indictment is sufficient if it charges in the

           language of the statute.”); see also United States v. Baxter, 579 Fed. Appx. 703, 705

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           (11th Cir. Aug. 21, 2014). Thus, to the extent that the rationale of the Kuok decision is

           really based on sufficiency of the evidence presented by the government at Kuok’s trial,

           this Court is not empowered to rely completely upon the reasoning of that decision.

                 On the other hand, the government points to no relevant statute or regulation

           which criminalizes an “attempt to cause” the unlicensed export of defense items, and

           the Court finds none. While § 2(b) makes criminal causing another to commit an

           offense, as the Kuok court noted, overlaying that provision onto 22 C.F.R. § 127.1(a)(1)

           only criminalizes causing an export or an attempted export, and not, as alleged in Kuok

           and here, an “attempt to cause” the export of an unlicensed defense item. Kuok,

           671 F.3d at 941. Similarly, another applicable version of § 127.1 provides that:

                 No person may knowingly or willfully cause, or aid, abet counsel,
                 demand, induce, procure or permit the commission of any act prohibited
                 by, or the omission of any act prohibited by, or the omission of any act
                 required by 22 U.S.C. [§] 2778, 22 U.S.C. [§] 2279, or any regulation,
                 license, approval, or order issued thereunder.

           22 C.F.R. § 127.1(d). This subsection is in effect a “regulatory § 2”, and overlaying § 2

           onto that provision does not criminalize an “attempt to cause” an unlicensed export.

           Nor can § 127.1(d) be read together with § 127.1(a) to criminalize an “attempt to cause”

           for the same reasons that § 2 cannot.




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                 As a result, the undersigned concludes that Count Two’s “attempt to cause”

           language does not state an offense, and therefore RECOMMENDS that that portion

           of Count Two be DISMISSED.

                 The motion to dismiss Count Four should be resolved similarly. That count

           alleges that Aydin and Blue Sky:

                 did knowingly and willfully attempt to export and attempt to cause to be
                 exported from the United States to the Islamic Republic of Iran through
                 the Republic of Turkey certain goods, namely aircraft parts, without first
                 having obtained the required license and authorization from the United
                 States Department of the Treasury’s Office of Foreign Assets Control, in
                 violation of Title 50, United States Code, Section 1705, in connection
                 with Title 31, Code of Federal Regulations, Sections 560.203 and
                 560.204; and Title 18, United States Code, Section 2.

           [Doc. 39 at 19]. Title 50 U.S.C. § 1705, unlike 22 U.S.C. § 2778, expressly contains

           an attempt prohibition:

                 (a) Unlawful acts

                 It shall be unlawful for a person to violate, attempt to violate, conspire to
                 violate, or cause a violation of any license, order, regulation, or
                 prohibition issued under this chapter.

                 ...

                 (c) Criminal penalty

                 A person who willfully commits, willfully attempts to commit, or willfully
                 conspires to commit, or aids or abets in the commission of, an unlawful

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                 act described in subsection (a) of this section shall, upon conviction, be
                 fined not more than $1,000,000, or if a natural person, may be imprisoned
                 for not more than 20 years, or both.

           50 U.S.C. § 1705(a), (c) (emphasis added). Count Four therefore validly charges an

           “attempt to export” since the statute contains express attempt provisions. On the other

           hand, overlaying 18 U.S.C. § 2 upon § 1705 does not expressly criminalize an “attempt

           to cause” a violation, but rather, as in Count Two, causing an attempt to commit a

           violation of the statute.

                 Turning to the cited regulations, 31 C.F.R. § 560.203 provides, in relevant part:

                 Any transaction on or after the effective date that evades or avoids, has the
                 purpose of evading or avoiding, causes a violation of, or attempts to
                 violate any of the prohibitions set forth in this part is prohibited.

           21 C.F.R. § 560.203(a). The other cited regulation, 31 C.F.R. § 560.204 provides:

                 Except as otherwise authorized pursuant to this part, and notwithstanding
                 any contract entered into or any license or permit granted prior to May 7,
                 1995, the exportation, reexportation, sale, or supply, directly or indirectly,
                 from the United States, or by a United States person, wherever located, of
                 any goods, technology, or services to Iran or the Government of Iran is
                 prohibited, including the exportation, reexportation, sale, or supply of any
                 goods, technology, or services to a person in a third country undertaken
                 with knowledge or reason to know that:

                 (a) Such goods, technology, or services are intended specifically for
                 supply, transshipment, or reexportation, directly or indirectly, to Iran or
                 the Government of Iran; or



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                 (b) Such goods, technology, or services are intended specifically for use
                 in the production of, for commingling with, or for incorporation into
                 goods, technology, or services to be directly or indirectly supplied,
                 transshipped, or reexported exclusively or predominantly to Iran or the
                 Government of Iran.

           Again, these provisions by themselves make it a crime to attempt to violate the Iranian

           arms embargo, and read in conjunction with § 2, to cause an attempt to violate the

           embargo. However, neither regulation alone, in conjunction with each other, or read

           in conjunction with § 2, criminalizes an “attempt to cause” a violation of the embargo.

                 As a result, the undersigned concludes that Count Four’s “attempt to cause”

           language does not state an offense, and therefore RECOMMENDS that that portion

           of Count Four be DISMISSED.10

                 B.     Counts One and Three-Multiplicitous

                        1.    Contentions of the Parties

                 Aydin argues that Counts One and Three are multiplicitous in that they charge

           the same conspiracy in two counts. [Doc. 40 at 3-4]. He notes that Count One alleges

           a conspiracy under 18 U.S.C. § 371, while Count Three alleges a conspiracy under

                 10
                         Dismissing portions of Counts Two and Four neither requires dismissing
           the entire count(s) nor does it result in the improper amending of the indictment.
           United States v. Miller, 471 U.S. 130, 144 (1985); United States v. Vernon,
           723 F.3d 1234, 1265-66 (11th Cir. 2013); United States v. Haile, 685 F.3d 1211, 1217
           -18 (11th Cir. 2012); United States v. Ward, 486 F.3d 1212, 1226-27 (11th Cir. 2007).

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           31 C.F.R. § 506.203.11 He then contends that since § 506.203 does not set forth

           elements of a conspiracy, it therefore must have the same elements as a § 371

           conspiracy, and thus the conspiracies in the separate counts are the same

           offense. [Doc. 40 at 4].

                 The government responds that the elements of each conspiracy are different in

           that a § 371 conspiracy requires that the government prove an overt act while a

           50 U.S.C. § 1705/31 C.F.R. § 560.203 conspiracy does not, and thus, the counts charge

           separate offenses and are not multiplicitous. [Doc. 46 at 9-10]. The government also

           argues that even if the counts are multiplicitous, dismissal is not warranted, but rather

           the government may elect which count it will pursue at trial. [Id. at 11-12].

                 In reply, Aydin argues that the counts charge the same conduct in that they both

           charge overt acts as described in ¶ 18 of the indictment. [Doc. 47 at 5]. It argues that

           the cases cited by the government are not illustrative because they did not discuss the

           elements of a § 1705 conspiracy. [Id.]. He further argues that the government’s


                 11
                        Title 31 C.F.R. § 506.203 also provides:

                 ...

                 (b) Any conspiracy formed to violate any of the prohibitions set forth in
                 this part is prohibited.

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           contention that a § 1705 conspiracy does not require an overt act is not accompanied

           by citation to authority. [Id.]. He argues that the counts set out exactly what is the

           danger of a multiplicitous indictment, that is, giving the jury two chances to convict the

           defendant. As a result, he argues the government must be compelled to make an

           election as to which count it upon which it will proceed. [Id. 5-6].

                        2.     Discussion

                 An indictment is multiplicitous if it charges the same offense in more than one

           count. United States v. Williams, 527 F.3d 1235, 1241 (11th Cir. 2008). United States

           v. De La Mata, 266 F.3d 1275, 1288 (11th Cir. 2001); United States v. Anderson,

           872 F.2d 1508, 1520 (11th Cir. 1989). A defendant cannot, of course, be punished for

           two crimes that constitute the “same offense.” Rutledge v. United States, 517 U.S. 292,

           297 (1996). When the government charges a defendant in multiplicitous counts, two

           vices may arise. First, the defendant may receive multiple sentences for the same

           offense. Second, a multiplicitous indictment may improperly prejudice a jury by

           suggesting that a defendant has committed several crimes -- not one. United States v.

           Rahim, 431 F.3d 753, 758 (11th Cir. 2005) (citing United States v. Smith, 231 F.3d 800,

           815 (11th Cir. 2000)).




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                 The test for determining whether an indictment is multiplicitous is set forth in

           Blockburger v. United States, 284 U.S. 299, 304 (1932): “Whether each provision

           requires proof of an additional fact which the other did not.” The Eleventh Circuit has

           held that charges are not multiplicitous where they differ by even a single element or

           alleged fact. United States v. Vargas, 563 Fed. Appx. 684, 687 (11th Cir. Apr. 17, 2014)

           (citing United States v. Costa, 947 F.2d 919, 926 (11th Cir. 1991)).

                 In the present case, Count One charges a conspiracy under 18 U.S.C. § 371. In

           order to sustain a conviction under 18 U.S.C. § 371, the government must prove (1) the

           existence of an agreement to achieve an unlawful objective; (2) the defendants’

           knowing and voluntary participation in the agreement; and (3) the commission of an

           act in furtherance of the agreement. United States v. Adkinson, 158 F.3d 1147, 1153

           (11th Cir. 1998) (citing United States v. Cure, 804 F.2d 625, 628-30 (11th Cir. 1986));

           see also United States v. Hasson, 333 F.3d 1264, 1270 (11th Cir. 2003) (citing

           Adkinson).

                 As to Count Three, Aydin misreads the charge. Although the “in connection

           with” 31 U.S.C. §§ 560.203 and 560.20412 and 18 U.S.C. § 2 makes the count

                 12
                        Title 31 U.S.C. § 560.204 states:

                 Except as otherwise authorized pursuant to this part, and notwithstanding

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           somewhat less than a model of clear draftsmanship, it is clear that the conspiracy

           charged is under 50 U.S.C. § 1705. In order to convict Aydin of the conspiracy charged

           in Count Three under § 1705, the government would have to prove beyond a reasonable

           doubt that Defendant (1) entered into an agreement with another to export and cause

           to be exported F-14 fighter jet parts from the United States to Iran, through Turkey;

           (2) did so willingly, that is, voluntarily and intentionally in violation of a known legal

           duty under a statute, license, order, regulation or prohibition; (3) knew or had reason

           to know that those goods that were intended for delivery to Iran were controlled goods

           that required an export license; and (4) did not obtain the necessary license from OFAC


                 any contract entered into or any license or permit granted prior to May 7,
                 1995, the exportation, reexportation, sale, or supply, directly or indirectly,
                 from the United States, or by a United States person, wherever located, of
                 any goods, technology, or services to Iran or the Government of Iran is
                 prohibited, including the exportation, reexportation, sale, or supply of any
                 goods, technology, or services to a person in a third country undertaken
                 with knowledge or reason to know that:

                 (a) Such goods, technology, or services are intended specifically for
                 supply, transshipment, or reexportation, directly or indirectly, to Iran or
                 the Government of Iran; or

                 (b) Such goods, technology, or services are intended specifically for use
                 in the production of, for commingling with, or for incorporation into
                 goods, technology, or services to be directly or indirectly supplied,
                 transshipped, or reexported exclusively or predominantly to Iran or the
                 Government of Iran.

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           before exporting the goods. See United States v. Quinn, 403 F. Supp. 2d 57, 66

           (D.D.C. 2005).

                 Neither the statutory ban under § 1705 (nor the prohibitions under the

           regulations) contain the requirement that the government prove an overt act, and thus

           the Count One conspiracy requires an additional factual element than the conspiracy

           charged in Count Three. As the Supreme Count explained in Whitfield v. United States,

           543 U.S. 209, 213-14 (2005), the common law understanding of conspiracy does not

           make the doing of any act other than the act of conspiring a condition of liability. Id.

           (citing United States v. Shabani, 513 U.S. 10, 13-14 (1994)). Thus, the Whitfield Court

           explained, Congress has a choice in enacting conspiracy statutes: if it includes an overt

           act requirement such as in § 371, then the conspiracy at issue requires the government

           to prove an overt act; however, if the statute “does not expressly make the commission

           of an overt act an element of the conspiracy offense, the [g]overnment need not prove

           an overt act to obtain a conviction. Id. at 214.

                   As a result, Counts One and Three are not multiplicitous because the

           government must prove a different additional element in Count One–that being an overt

           act–that it need not prove to obtain a conviction on Count Three, and therefore, Aydin’s




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           motion to dismiss (or to cause an election) on the grounds of the the counts are

           multiplicitous should be denied.

                 C.     Count Three-Failure to State an Offense

                        1.     Contentions of the Parties

                 Aydin makes three challenges to Count Three, and as to none does he cite to any

           supporting authority. First, he argues that § 560.203 does not state an offense because

           it does not identify the elements of such a conspiracy. [Doc. 40 at 4]. Next, he argues

           that the indictment does not state which “specific portion of part 560 the Defendants

           conspired to violate.” [Id. at 5]. Finally, he argues that there is no penalty provision

           assigned to such a conspiracy and that the regulation provides both civil and criminal

           penalties, thus resulting in a lack of notice to him. [Id.].

                 In response, the government argues that Count Three charges a conspiracy under

           § 1705 and adequately charges the elements of such a conspiracy. [Doc. 46 at 12-13].

           Moreover, the government argues that an indictment is not defective just because it

           does not refer to a penalty provision, and in any event, § 1705(c) clearly states the

           potential penalty for conspiring to violate § 1705. [Doc. 46 at 13]. In reply, Aydin

           argues that § 1705 is labeled “Penalties” and thus does not describe an

           offense. [Doc. 47 at 6]. He also argues that the government’s response refers to § 371

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           cases. [Id. at 7]. He finally argues that the indictment does not specify which penalty

           under 31 U.S.C. § 560.70113 is applicable. [Doc. 47 at 7].

                 13
                        31 U.S.C. § 560.701 states, in relevant part:

                 (a) Attention is directed to section 206 of the International Emergency
                 Economic Powers Act (50 U.S.C. 1705) (“IEEPA”), which is applicable
                 to violations of the provisions of any license, ruling, regulation, order,
                 directive, or instruction issued by or pursuant to the direction or
                 authorization of the Secretary of the Treasury pursuant to this part or
                 otherwise under IEEPA.

                 ...
                        (2) A person who willfully commits, willfully attempts to
                        commit, or willfully conspires to commit, or aids or abets in
                        the commission of a violation of any license, order,
                        regulation, or prohibition may, upon conviction, be fined not
                        more than $1,000,000, or if a natural person, be imprisoned
                        for not more than 20 years, or both.

                 ...

                 ...

                        (b) Adjustments to penalty amounts.

                 ...

                        (2) The criminal penalties provided in IEEPA are subject to
                        adjustment pursuant to 18 U.S.C. 3571.

                 ....

           31 U.S.C. § 560.701(a), (b).

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                        2.     Discussion

                 Aydin’s contentions should be rejected. As noted in Part II.B.2, Count Three

           alleges a conspiracy to violate § 1705 “in connection with” 31 U.S.C. §§ 560.203,

           560.204, and not as contended by Aydin a conspiracy under 31 U.S.C. §§ 560.203 and

           560.204. [Doc. 39 at 18-19]. The crime charged is conspiracy to violate § 1705, with

           the citation to the regulations merely referencing the regulations promulgated under the

           IEEPA. The elements of a § 1705 conspiracy are set out in the statute, § 1705(a), and

           in Count Three. See also supra Part II.B.2. Moreover, the penalties for committing a

           § 1705(a) conspiracy are clearly set out in § 1705(c).

                 In making his argument, Aydin ignores the language of the very case he cites,

           Kmart Corp. v. Cartier, Inc., 486 U.S. 281, 291 (1988), which held that “[i]n

           ascertaining the plain meaning of the statute, the court must look to the particular

           statutory language at issue, as well as the language and design of the statute as a

           whole.” The statute at issue here, § 1705, could not be more clear, and thus the heading

           or title does not add or detract from the statutes’s meaning. Cf. Fla. Dep’t of Revenue

           v. Piccadilly Cafeterias, Inc., 554 U.S. 33, 47 (2008) (observing that although titles and

           section headings “cannot substitute for the operative text of the statute,” they “are tools

           available for the resolution of a doubt about the meaning of a statute.” (internal

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           quotations marks omitted)). In the case of § 1705, there is no doubt as to its meaning

           and thus reference to the section’s title is not warranted. Also, it is not unusual for a

           statutory heading of “Penalties” to also set forth the elements of the crime. See,

           e.g., 12 U.S.C. § 1847 (penalties and crimes relating to bank holding companies);

           16 U.S.C. § 1540 (penalties and enforcement relating to endangered species);

           18 U.S.C. § 924 (penalties and crimes related to firearms); 29 U.S.C. § 216 (penalties

           and crimes related to fair labor standards).

                 Finally, Aydin’s citations to 31 C.F.R. § 560.701 do not alter this conclusion.

           While Count Three refers to the C.F.R. provisions in charging the § 1705 conspiracy,

           the code section under which the defendants are being prosecuted is the conspiracy

           provisions of § 1705.

                 As a result, Aydin’s motion to dismiss Count Three should be rejected.

                 D.     Count Three-Duplicitous

                        1.     Contentions of the Parties

                 Aydin also claims that Count Three is duplicitous in that it improperly charges

           two crimes in a single count: a conspiracy pursuant to § 1705 and aiding and abetting

           pursuant to § 2. [Doc. 40 at 5-7]. He relies mainly on United States v. Schlei,

           122 F.3d 944, 977-79 (11th Cir. 1997). [Doc. 40 at 5-7].

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                 The government responds that Aydin is incorrect in his argument that two crimes

           are charged in Count Three because § 2 is not a separate crime but rather an alternative

           charge that permits one to be found guilty as a principal or as an aider and

           abettor. [Doc. 46 at 15]. It further argues that because the § 1705 conspiracy is a

           substantive offense, Aydin also can be found guilty of aiding and abetting the

           conspiracy. [Id.]. The government also distinguishes Schlei, since in that case the

           defendant was not charged with a conspiracy and as an aider and abettor, but rather was

           charged with two separate acts of securities fraud in a single count, where one of those

           acts occurred in a venue over which the trial court did not have jurisdiction, and there

           was no special verdict instructing the jury to unanimously agree upon the act

           committed by the defendant. [Id. at 15-16 (citation omitted)]. The government also

           argues that if the count is duplicitous, the remedy is to require it to elect which theory

           the government is proceeding or to instruct the jury that it must unanimously find the

           defendant guilty of one distinct act, but not to dismiss the indictment. [Id. at 16].

                 In his reply, Aydin argues that Count Three charges a non-specified conspiracy

           but if the Court finds that it charges a § 1705 conspiracy, it also charges an additional

           conspiracy under 31 U.S.C. § 560.203(b). [Doc. 47 at 7-8]. He also argues that the

           indictment does not charge–as alleged by the government–that he aided and abetted a

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           conspiracy, but rather charges that the named defendants, “aided and abetted by each

           other,” conspired to violate § 1705 in connection with §§ 560.203 and 560.204 and

           § 2. [Doc. 47 at 8]. He argues that the manner that Count Three was drafted could

           result in his being charged with aiding and abetting the violations of

           31 C.F.R. §§ 560.203 and 204, and that the drafting results in his being charged with

           several offenses in the same count. He contends that the remedy is to require the

           government to elect an offense and dismiss the remaining charge(s), and not simply to

           have the jury return a verdict on which charge the government has

           proven. [Doc. 47 at 9].

                        2.    Discussion

                 A count in an indictment is duplicitous if it charges two or more “separate and

           distinct” offenses. United States v. Schlei, 122 F.3d 944, 977 (11th Cir. 1997); United

           States v. Burton, 871 F.2d 1566, 1573 (11th Cir. 1989). The Schlei court recognized that

           a duplicitous count poses three dangers: “(1) A jury may convict a defendant without

           unanimously agreeing on the same offense; (2) A defendant may be prejudiced in a

           subsequent double jeopardy defense; and (3) A court may have difficulty determining

           the admissibility of evidence.” Id. (quoting United States v. Wiles, 102 F.3d 1043,

           1061 (10th Cir. 1996) (finding no duplicity where the indictment merely alleged

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           multiple means or methods of committing a single offense), modified, 106 F.3d 1516

           (10th Cir. 1997), judgment vacated on other grounds United States v. Schleibaum,

           522 U.S. 945 (1997). Under this analysis, the key issue to be determined is what

           conduct constitutes a single offense. Schlei, 122 F.3d at 977. Whether a count is

           duplicitous is to be determined solely by reference to the face of the indictment. United

           States v. Sharpe, 193 F.3d 852, 866 (5th Cir. 1999) (allegation of duplicity is analyzed

           by assessing the indictment to determine whether it can be read to charge only one

           violation in each count).

                 The government again has the better argument. First, Schlei is not instructive

           because contrary to Aydin’s representation, [Doc. 40 at 6-7], Schlei did not involve an

           aiding and abetting charge and a conspiracy count in the same count. As noted in the

           government’s response, the defect in Schlei was the inclusion of more than one

           securities transactions in a single count, where venue was improper in the charging

           district for one of those acts and the jury was not instructed to find unanimously which

           particular act the defendant committed. Schlei, 122 F.3d at 177-79.

                 Second, aiding and abetting under § 2 is not a separate crime. United States v.

           Stitzer, 785 F.2d 1506, 1519 n.7 (11th Cir. 1986) (citing United States v. Pearson,




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           667 F.2d 12, 13 (5th Cir. Unit B 1982)).14 Rather, “[i]t makes punishable as a principal

           one who aids or abets the commission of a crime. One indicted as a principal may be

           convicted on proof beyond a reasonable doubt that he aided and abetted.” United States

           v. Megna, 450 F.2d 511, 512 (5th Cir. 1971) (citations omitted).

                 Third, although it could have been more clearly worded, Count Three alleges that

           the defendants named therein conspired to violate § 1705 or aided and abetted a § 1705

           conspiracy. The Court gives effect to each term of the indictment. See United States

           v. Bornscheuer, 563 F.3d 1228, 1237 (11th Cir. 2009). As a result, there is a difference

           between the conspiracy charged in Count One, which alleges that “the

           defendants . . . with each other and with others known and unknown, did knowingly

           and willfully . . . conspire . . . to commit [certain] offenses,” [Doc. 39 at 7 ¶ 16], and

           Count Three, where the grand jury alleged that Aydin, Kamyari and Blue Sky “aided

           and abetted by each other, did knowingly and willfully conspire to export and to cause

           to be exported from the United States” certain goods, etc. [Id. at 18 ¶ 22]. To be guilty

           of aiding and abetting a conspiracy, a defendant need only “associate himself with the


                 14
                       Section 2 governs the liability of aiders and abettors as principals, stating
           that “[w]hoever willfully causes an act to be done which if directly performed by him
           or another would be an offense against the United States, is punishable as a principal.”
           18 U.S.C. § 2.

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           crime, participate in it as something he wishes to bring about, and seek by his actions

           to make it succeed.” United States v. Newton, 44 F.3d 913, 921 (11th Cir. 1995)

           (quoting United States v. Pepe, 747 F.2d 632, 665 (11th Cir. 1984)). An aiding and

           abetting offense occurs when a defendant assists the perpetrator of the crime while

           sharing in the requisite criminal intent.      Id. (citing United States v. Martinez,

           555 F.2d 1269, 1271 (5th Cir. 1977)); see also United States v. Alvarez, 610 F.2d 1250,

           157 & n.6 (5th Cir. 1980) (describing an aider and abettor of a conspiracy as an

           accessory in a conspiracy).

                 Because the addition of § 2 (or “aiding and abetting”) does not place additional

           liability on the same conduct, but merely serves to clarify why each defendant may be

           criminally liable, the Court finds that the charging of both the conspiracy and aiding

           and abetting provisions inside one count is not duplicitous. See Baumann v. United

           States, 692 F.2d 565, 571-72 (9th Cir. 1982) (holding an indictment was not duplicitous

           for including § 2 along with another statute in a substantive count, because § 2

           “provides a means of establishing liability but does not itself define a crime”).

                 As a result, Aydin’s challenge to Count Three as duplicitous should be rejected.




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                 E.     Counts Six and Seven-Failure to State an Offense

                        1.     Contentions of the Parties

                 Aydin alleges that Counts Six and Seven are invalid because § 1705 is not

           included as a “specified unlawful activity” under 18 U.S.C. § 1956(b)(7), nor is it

           cross-referenced under 18 U.S.C. § 1961(1). [Doc. 40 at 7-8].

                 The government responds that Aydin’s motion should be denied for two reasons.

           First, Counts Six and Seven also identify 18 U.S.C. § 2778 as a specified unlawful

           activity and § 2778 is identified as a specified unlawful activity pursuant to

           18 U.S.C. § 1956(c)(7)(v)(I).        [Doc. 46 at 17].          Second, it contends that

           18 U.S.C. § 1956(c)(7) includes “section 206 (relating to penalties) of the International

           Emergency         Economic      Powers      Act”     as    a     specified   unlawful

           activity, 18 U.S.C. § 1956(c)(7)(D), and that provision is a reference to

           § 1705. [Doc. 46 at 18]. In his reply, Aydin repeats the arguments in his opening brief

           and further contends, as he did in reference to his challenge to Count Three, that § 206

           of the IEEPA is a penalty provision that cannot therefore be a specified unlawful

           activity under § 1961.




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                        2.    Discussion

                 Aydin’s arguments as to Counts Six and Seven are frivolous. The money

           laundering counts in these counts are properly pleaded because (1) they include § 2778,

           which is listed as a specified unlawful activity under § 1956(c), and (2) § 206 of the

           IEEPA is codified at 50 U.S.C. § 1705. United States v. Elkins, 885 F.2d 775 (1989);

           In re 650 Fifth Ave., No. 08 Civ. 10934(KBF), 2013 WL 5178677, *19

           (S.D.N.Y. Sept. 16, 2013) (“Section 1956(c) (7) of Title 18 defines ‘specified unlawful

           activity’ to include offenses under ‘section 206 (relating to penalties) of the

           International Emergency Economic Powers Act.’ 18 U.S.C. § 1956(c)(7)(D). The

           IEEPA was enacted in 1977 and empowers the President of the United States to employ

           economic sanctions and other measures in response to situations which he has declared

           to be national emergencies. See 50 U.S.C. § 1702 (2001). Section 206 of the IEEPA

           is codified at 50 U.S.C. § 1705 (2007)”).

                 As a result, Aydin’s motion to dismiss Counts Six and Seven should be denied.

                 Accordingly, for all of the above reasons, the undersigned RECOMMENDS that

           Aydin’s motion to dismiss the indictment, [Docs. 34, 40], be DENIED.




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           III.   Motion to Strike Surplusage, [Doc. 41]

                  A.    Contentions of the Parties

                  In this motion, Aydin contends that the historical background in ¶¶ 5, 6 and 13

           of the indictment should be stricken as irrelevant, gratuitous, unfairly prejudicial and

           inflammatory. The provisions he seeks to have stricken are as follows:

                        1. From ¶ 5:

                  At all times relevant to this Indictment, the International Emergency
                  Economic Powers Act (“IEEPA”), 50 U.S.C. §§ 1701-1706, authorized
                  the President of the United States (“the President”) to impose economic
                  sanctions on a foreign country, in response to an unusual or extraordinary
                  threat to the national security, foreign policy or economy of the United
                  States when the President declared a national emergency with respect to
                  that threat.

           [Doc. 41 at 2 (strikeout in original)].

                  2. From ¶ 6:

                  On March 15, 1995, the president issued Executive order No. 12957,
                  finding that “the actions and policies of the Government of Iran constitute
                  an unusual and extraordinary threat to the national security, foreign
                  policy, and economy of the United States” and declaring “a national
                  emergency to deal with that threat.” Executive Order No. 12957, as
                  expanded and continued by Executive Order No. 12959 (issued on
                  May 6, 1995) and Executive Order No. 13059 (issued on August 19,
                  1997), was in effect at all times relevant to this Indictment pursuant to the
                  publication of the Notice of Continuation of the National with Respect to
                  Iran. See 74 Fed. Reg. 10999 (March 11, 2009) and 75 Fed. Reg. 12117
                  (March 10, 2010).

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           [Doc. 41 at 2 (strikeouts in original)].

                 3. From ¶ 13:

                 In furtherance of world peace and the security and foreign policy of the
                 United States, the Arms Export Control Act (22 U.S.C. § 2778 et seq.)
                 authorized the President of The United States to control the export of
                 defense articles and defense services. The regulations which govern such
                 exports are titled the International Traffic in Arms Regulations (ITAR)
                 (22 C.F.R. §§ 120-130). The ITAR contains a list of defense articles and
                 defense services which are subject to control by these regulations. The list
                 is called the United States Munitions List (USML) (22 C.F.R. § 121.1).
                 At all times relevant to this Indictment, the following items, which were
                 designed for use on the F-14 fighter jet, were designated on the
                 USML[. . . .]

           [Doc. 41 at 3 (strikeouts in original)].

                 He argues that the language requested to be stricken is not an element of the

           offense charged, 18 U.S.C. § 371, and that any language which is not a necessary

           ingredient of the offense charged is surplusage. [Doc. 41 at 3 (quoting Johnson v.

           Biddle, 12 F.2d 366, 369 (8th Cir. 1926)]. He further contends that presenting the

           history of the statutes may be beneficial at trial but to allow inclusion of the language

           in the indictment would allow the government “to ‘thoroughly present its case to the

           jury before the trial even began, at a time when the defendant would not be entitled to

           defend himself,’ ” and is inflammatory and unduly prejudicial. [Id. at 4 (quoting

           United States v. Cooper, 384 F. Supp. 2d 958, 960 (W.D. Va. 2005), aff’d 482 F.3d 648

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           (4th Cir. 2007))]. He argues that the offending language implies that Aydin is lumped

           together “with the persons that the statutes were meant to protect The United

           States against.” [Id].

                 In response, the government argues that the language is not surplusage and

           should not be stricken. It argues that the allegations are relevant to the charges and is

           not inflammatory or prejudicial. Specifically with regard to ¶ 13 of the indictment, the

           government argues that it identifies the International Traffic in Arms Regulations at

           issue and thus notifies the defendant of the manner in which the government contends

           he violated the law, and to remove it would remove the regulations from the

           case. [Doc. 45 at 2-3]. In the alternative, the government argues that the Court should

           reserve the motion until evidence is presented at trial. [Id. at 3]. Aydin did not file a

           reply. [See Dkt.].

                        2.      Discussion

                 Federal Rule of Criminal Procedure 7(d) provides that upon the defendant’s

           motion “the court may strike surplusage from the indictment or information.” United

           States v. Bissell, 866 F.2d 1343, 1357 (11th Cir. 1989). A motion to strike surplusage

           from an indictment should not be granted “unless it is clear that the allegations are not

           relevant to the charge and are inflammatory and prejudicial. . . . [T]his is a most

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           ‘exacting standard.’ ” United States v. Awan, 966 F.2d 1415, 1426 (11th Cir. 1992)

           (quoting United States v. Huppert, 917 F.2d 507, 511 (11th Cir. 1990), and 1 Charles

           A. Wright, Federal Practice and Procedure § 127 at 424-29 (1982)) (internal

           quotations and omitted). It is proper to reserve ruling on a motion to strike surplusage

           until the trial court has heard evidence that will establish the relevance of the allegedly

           surplus language. Id. at 1426; see also United States v. Fahey, 769 F.2d 829, 842

           (1st Cir. 1985) (after hearing evidence, the trial court refused to strike certain alleged

           surplusage from the indictment).

                 Before discussing the particulars of the motion, the Court first addresses why it

           does not rely upon the cases cited by Aydin. First, the Court does not rely upon

           Johnson v. Biddle as that case does not construe Rule 7(d), having been decided before

           the Rule’s enactment, does not discuss whether the questioned language was

           inflammatory or prejudicial, and perhaps most significantly, concerns a conviction

           under military law. See Johnson, 12 F.2d at 369. Second, in Cooper, an environmental

           crimes prosecution, the material stricken was the defendant’s history, the stricken

           material was defendant’s past troubles with environmental agencies, and the trial court

           found those allegations unnecessary and unduly prejudicial. Cooper, 384 F. Supp. 2d at

           960. In the current case, the language Aydin contends is surplusage is not his past

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           dealings with the government but rather identifies the legal authority for the

           promulgation of Executive Orders which Defendants sought to evade.

                 Thus, the Court first finds that the allegations sought to be stricken from

           ¶¶ 5 and 6 of the indictment are relevant to the charge and neither inflammatory nor

           prejudicial. The language in ¶ 5 merely sets forth the grounds under which the

           President    may    exercise     discretionary    authority     under    the   IEEPA,

           see 50 U.S.C. § 1701(a), while ¶ 6 alleges that the findings underlying Executive

           Orders issued by the President were in compliance with that authority.            Since

           Defendants are charged, inter alia, with conspiring to export prohibited items to Iran

           in contravention of those Executive Orders, the existence and validity of those

           Executive Orders are relevant to the charge(s). Further, as presented in the indictment,

           the language sought to be stricken is neither inflammatory or overly prejudicial.

                 Similarly, the language sought to be stricken from ¶ 13 is relevant and not

           inflammatory or prejudicial. Again, the language of the indictment sets out the

           language of the statute, 22 U.S.C. § 2778, and identifies the regulations promulgated

           in compliance with the statute, that in turn identify arms and munitions which require

           a license to export. Defendants are charged with conspiring and attempting to export

           prohibited items without the necessary license, and thus the language of the paragraph

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           is relevant to the charge. In addition, Aydin has not shown that the language is

           inflammatory or prejudicial.

                 The Court understands Defendant’s concern that he not be painted with the

           opprobrium that befalls nations which have been designated the subject of an arms

           embargo, but one of the issues in the case is whether Defendants conspired or attempted

           to violate the enforcement provisions of such an embargo, and so the admission of

           evidence related to the embargo and Iran is unavoidable. As such, he has not satisfied

           the “exacting standard” necessary to warrant redaction of the language from the

           indictment.

                 As a result, Aydin’s motion to strike surplusage, [Doc. 41], is DENIED.

           IV.   Conclusion

                 For all the above and foregoing reasons, the undersigned RECOMMENDS that

           Defendant Aydin’s motion to dismiss, [Doc. 34, 40], be GRANTED IN PART AN

           DENIED IN PART.          Specifically, the undersigned RECOMMENDS that the

           allegations in each count that Aydin did “attempt to cause” a violation be dismissed.

           Defendant Aydin’s motion to strike surplusage, [Doc. 41], is DENIED.

                 The Court has now ruled upon all matters referred to it. Therefore, the action as

           to this defendant is CERTIFIED READY FOR TRIAL.

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                IT IS SO RECOMMENDED, ORDERED and CERTIFIED, this the 16th

           day of January, 2015.




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